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Message
From: Jack Abramoff ay UNITED STATES DISTRICT COURT
Sent: 8/9/2015 6:24:02 AM NORTHERN DISTRICT OF CALIFORNIA
To: compliance@atencoin.com TRIAL EXHIBIT 1090
Subject: RE: NAC Employment. Working with The Aten "Black Gold" Coin CASE NO.: CR 20-249 RS
Attachments: NAC Mutual_NDA.pdf DATE ENTERED

BY

DEPUTY CLERK

Attached. Let me know when you want to chat.

From: compliance @atencoin.com [mailto:compliance@atencoin.com]
Sent: Sunday, August 9, 2015 12:18 AM

To: Jack Abramoff

Subject: NAC Employment. Working with The Aten “Black Gold" Coin

Hello Jack,
Thank you for your email. Below is some information about my company.

When you have a chance, please review the information. A good way to knowing when you actually
understand what my company does is when you know the difference between Bitcoin and the Aten "Black
Gold" Coin.

If your time permits, lets setup a time we can speak this week. Attached is an NDA, please sign it when you
can | will as well.

Thank you,

Marcus Andrade, Founder
NAC Foundation, LLC
7495 Azure Dr. Suite 110
Las Vegas, NV 89130

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"We are pleased to announce the formation of AtenPay, S.A., a Warsaw, Poland based Aten
Coin Payment Processing Company.” http:/Awww.AtenPay.com

Headquartered in Las Vegas, Nevada, National Aten Coin (NAC) is the creator of the Aten “Black Gold”
Coin, a cryptocurrency (a form of electronic money) that is a global payment transaction network. While
maintaining privacy of customers, the NAC utilizes proprietary techniques to verify ownership of coin
holders, secure and monitor transactions, trace and track identities of senders and receivers, keep
recordkeeping efforts transparent, protect coins from stealing, maintain liquidity and stabilize value of the
cryptocurrency. The Aten “Black Gold” Coin has quickly earned a high level of trust throughout the global
financial and online communities, because it is 100% compliant with all regulatory agencies, including the
following: Anti-Money Laundering (AML), Counter Financing of Terrorism (CFT), Anti-Fraud and Financial
Crimes (AFF), Office of Foreign Assets Control (OFAC), Bank Secrecy Act (BSA), USA PATRIOT Act and the

FACT Act. For more information please visit: http://AtenCoin.com

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The Banking Indsutry & The Aten "Black Gold” Coin

The Worlds First AML Digital Currency

Click here for more Aten "Black Gold” Coin news.

Aten "Black Gold" Coin

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